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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   IMPLICIT, LLC,                                   )
                                                    )
                          Plaintiff,                )   Case No. 2:19-cv-00040-JRG-RSP
                                                    )   LEAD CASE
            v.                                      )
                                                    )   Case No. 2:19-cv-00042-JRG-RSP
   SOPHOS LTD.                                      )   MEMBER CASE
                                                    )
                                                    )
                          Defendant.                )


     JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT


         Plaintiff Implicit, LLC (“Plaintiff”) and Defendant Sophos Ltd. (“Sophos”), pursuant to

  this Court’s June 3, 2014 Standing Order Regarding Proper Notification of Settlement to the Court,

  hereby file this Joint Motion to Stay All Deadlines and Notice of Settlement between Plaintiff and

  Sophos.

         All matters in controversy between the parties have been settled, and Plaintiff and Sophos

  have reached an agreement and are in the process of obtaining signatures. The settlement provides

  that certain terms will be performed, and then the claims between Plaintiff and Sophos will be

  dismissed. The parties wish to conclude the settlement without burdening the Court with any

  additional filings and without incurring unnecessary expense. The parties anticipate that they will

  be able to submit dismissal papers within thirty (30) days from the date of this filing. Accordingly,

  the parties respectfully request that the Court grant a stay of all proceedings between Plaintiff and

  Sophos, including all pending deadlines between the parties, until October 11, 2019.

         The parties submit that good cause exists for granting this agreed motion, as set forth above.

  This motion is not filed for purposes of delay, but so that justice may be served.
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         Wherefore, the parties respectfully requests that the Court enter the proposed order

  submitted with this joint motion as set forth above, and grant the parties such other and further

  relief to which they are entitled.



  Dated: September 11, 2019                     Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document was filed electronically in

  compliance with Local Rule CV-5(a). As such, this motion was served on all counsel who have

  consented to electronic service, Local Rule CV-5(a)(3), on this the 11th day of September, 2019.

                                                      /s/ Jennifer P. Ainsworth
                                                      Jennifer P. Ainsworth




                               CERTIFICATE OF CONFERENCE

         This is to certify that counsel have conferred concerning this Joint Motion and this Joint

  Motion sets out the Parties’ positions.

                                                      /s/ Jennifer P. Ainsworth
                                                      Jennifer P. Ainsworth




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